Case 1:17-cv-00916-RA-BCM Document 365-4 Filed 06/12/23 Page 1 of 3
Case 1:17-cv-00916-RA-BCM Document 365-4 Filed 06/12/23 Page 2 of 3
Case 1:17-cv-00916-RA-BCM Document 365-4 Filed 06/12/23 Page 3 of 3




                         UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF NEW YORK
     In re Global Brokerage, Inc. f/k/a FXCM Inc.           Master File No. 1:17-cv-00916-RA-BCM
     Securities Litigation                                  CLASS ACTION
     This Document Relates To: All Actions
                  SUMMARY NOTICE OF PENDENCY AND PROPOSED CLASS ACTION SETTLEMENT
    TO: ALL PERSONS WHO PURCHASED THE PUBLICLY-TRADED CLASS A COMMON STOCK OF GLOBAL
            BROKERAGE, INC. F/K/A FXCM, INC. (FXCM) FROM MARCH 15, 2012 THROUGH FEBRUARY 6,
            2017, BOTH DATES INCLUSIVE.
        YOU ARE HEREBY NOTIFIED, pursuant to an Order of the United States District Court for the Southern District
    of New York, that a hearing will be held on July 7, 2023, at 3:00 p.m. before the Honorable Ronnie Abrams,
    United States District Judge of the United States District Court for the Southern District of New York, Thurgood
    Marshall United States Courthouse, Courtroom 1506, 40 Foley Square, New York, NY 10007, or by telephonic or
    videoconference means as directed by the Court, for the purpose of determining:
        (1) whether the proposed Settlement of the claims in the above-captioned Action for consideration
    including the sum of $6,500,000 (Settlement Amount) should be approved by the Court as fair, reasonable,
    and adequate;
        (2) whether the proposed plan to distribute the Settlement proceeds is fair, reasonable, and adequate;
        (3) whether the application of Class Counsel for an award of attorneys fees of up one third of the Settlement
    Amount, reimbursement of expenses of not more than $850,000, and awards to Class Representatives of
    $20,000 for Lead Plaintiff Shipco Transport Inc. and $15,000 for Plaintiff E-Global Trade and Finance Group,
    Inc., or $35,000 total, should be approved; and
        (4) whether this Action should be dismissed with prejudice as set forth in the Stipulation of Settlement,
    dated February 1, 2023 (Stipulation).
        If you purchased FXCM common stock during the period from March 15, 2012 through February 6, 2017,
    both dates inclusive (Class Period), your rights may be affected by this Settlement, including the release and
    extinguishment of claims you may possess relating to your ownership interest in FXCM common stock.
        If you have not received a postcard providing instructions for receiving a detailed Notice of Pendency and
    Proposed Settlement of Class Action (Long Notice) and a copy of the Proof of Claim and Release Form (Proof
    of Claim), you may obtain copies by writing to or calling Global Brokerage, Inc. f/k/a FXCM, Inc. Securities
    Litigation, c/o Strategic Claims Services, 600 N. Jackson St., Ste. 205, P.O. Box 230, Media, PA 19063; (Tel)
    (866) 274-4004; (Fax) (610) 565-7985; info@strategicclaims.net, or going to the website, www.strategicclaims.
    net/FXCM. If you are a member of the Class, in order to share in the distribution of the Net Settlement Fund,
    you must submit a properly completed Proof of Claim electronically or postmarked no later than June 7, 2023
    to the Claims Administrator, establishing that you are entitled to recovery. Unless you submit a written exclusion
    request, you will be bound by any judgment rendered in the Action whether or not you make a claim.
        If you desire to be excluded from the Class, you must submit a request for exclusion in the manner and form
    explained in the Long Notice to the Claims Administrator so that it is received no later than June 16, 2023. All
    members of the Class who have not requested exclusion from the Class will be bound by any judgment entered
    in the Action.
        Any objection to the Settlement, Plan of Allocation, or Class Counsels request for an award of attorneys fees
    and reimbursement of expenses and an award to Plaintiffs must be in the manner and form explained in the
    Long Notice and received no later than June 16, 2023, by each of the following:
                   Clerk of the Court                     CLASS COUNSEL:              COUNSEL FOR THE INDIVIDUAL
              United States District Court            The Rosen Law Firm, P.A.                 DEFENDANTS:
             Southern District of New York                    Phillip Kim                  KING & SPALDING LLP
      Daniel Patrick Moynihan U.S. Courthouse 275 Madison Avenue, 40th Floor                    Israel Dahan
                   500 Pearl Street                      New York, NY 10016            1185 Avenue of the Americas
                 New York, NY 10007                                                         New York, NY 10036
        If you have any questions about the Settlement, you may call or write to Class Counsel:
    THE ROSEN LAW FIRM, P.A.
    Phillip Kim
    275 Madison Avenue, 40th Floor
    New York, NY 10016
    Tel: 212-686-1060
    PLEASE DO NOT CONTACT THE COURT OR THE CLERKS OFFICE REGARDING THIS NOTICE.
     Dated: February 21, 2023
                                                               BY ORDER OF THE UNITED STATES DISTRICT COURT
                                                               FOR THE SOUTHERN DISTRICT OF NEW YORK
